
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. 30,408-08






DEREK MITCHELL BAILEY, Relator


v.


THE DISTRICT CLERK OF GUADALUPE COUNTY, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

FROM GUADALUPE COUNTY





	The order was delivered per curiam.



O R D E R




	This is an original application for a writ of mandamus.

	Relator contends that he filed an application for writ of habeas corpus in the 25th  Judicial
District Court of Guadalupe County, but that the application has not been forwarded to the Court of
Criminal Appeals even though more than thirty-five days have elapsed. Relator's contentions present
a colorable claim to have prompt resolution of any grounds raised in such an application.

	It is this Court's opinion that additional information is required before a decision can be
reached.  Therefore, the respondent, District Clerk of Guadalupe County, is ordered to file with this
Court within thirty days a response by submitting the record on such application or a copy of a timely
entered order designating issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.
Crim. App. 1992), or by stating the nature of any applications filed by Relator such that they are not
filed pursuant to tex. code crim. proc. art. 11.07, §&nbsp;3,  or that no applications by applicant have
been filed.

	IT IS SO ORDERED this the 29 day of March, 2006.

DO NOT PUBLISH


